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         Exhibit	  Q	  
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                                                                                                 USOO5764924A
United States Patent (19)                                                           11 Patent Number:                    5,764,924
Hong                                                                             45      Date of Patent:               Jun. 9, 1998
54 METHOD AND APPARATUS FOR                                                                     OTHER PUBLICATIONS
       EXTENDING A LOCAL PCI BUS TO A
       REMOTE I/O BACKPLANE                                                  “PCI Local Bus Specification". Production Version. Revi
                                                                             sion 2.0, PCI Local Bus, Apr. 30, 1993.
(75) Inventor: Soon Chul Hong San Diego, Calif.                              Primary Examiner-Ayaz R. Sheikh
 73) Assignee: NCR Corporation. Dayton, Ohio                                 Assistant Examiner-Jeffrey K. Seto
                                                                             Attorney, Agent, or Firm-Merchant, Gould. Smith Edell,
(21) Appl. No. 518,947                                                       Welter & Schmidt
(22 Filed:           Aug. 24, 1995                                           (57)                   ABSTRACT
(51) Int. Cl. .............................. G06F 1300                       Amethod and apparatus for extending a PCIbus interface to
52 U.S. Cl. ............                           39.5281,395,306           a remote I/O backplane through a high speed serial link.
58     Field of Search ..................................... 395/281, 287,   providing a large number of I/O slots to alleviate packaging
                                                  395/306, 308,309           requirements. The apparatus includes a local and a remote
                                                                             serial bridge coupled by a serial link, which is used to
56                     Ref      Cited                                        transceive messages. Each serial bridge may reside either on
56                      eerences e                                           a PCI add-in card, or directly on a motherboard. The bridge
                 U.S. PATENT DOCUMENTS                                       uses data buffering and a handshaking request and acknowl
     4.959,833 9/1990 Mercola et al. ..........................              edge protocol to assure accurate and timely data transfer.
     5.001,625 3/1991 Thomas et al. ..
     5.488,705 l/1996 LaBarbera ............................... 395/309                     65 Claims, 19 Drawing Sheets

                                                                   PCIBUS
                                    100 N.             107            O O6
                                                              PCI INTERFACE
                                                                CONNECTOR
                                                      104. 158 O                    52
                                                                  LOCAL
                                                              SERIAL BRIDGE                      SDEBAND
                                                                                                  SIGNALS




                                                                                                 SEDEBAND
                                                                                                  SIGNALS




                               OPTIONAL PCI             OPTIONAL PCI         OPTIONAL PCI        OPTIONAL PCI
                                 INTERFACE                INTERFACE            NERFACE             NTERFACE
                                CONNECTOR                CONNECTOR           CONNECTOR            CONNECTOR

                                                                       16                  16
                                 PCI-TO-PC                PCI-TO-PC           PCI-TO-PCI          PCI-TO-PCI
                                   BRIDGE                   BRDGE               BRIDGE              BRIDGE
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                            PCIBUS                                FIG. 2
      100 N.       107        O 106
                         PCI INTERFACE
                          CONNECTOR
                   104 - 158 O
                            LOCAL
                         SERAL BRIDGE                                   SOEBAND
                                                                         SIGNALS

                                          --   or   P   um   is   em.   -   rar   n-   was   a




                           REMOTE
                         SERAL BRIDGE                                   SDEBAND
                                                                         SIGNALS




   OPTIONAL PCI     OPTIONAL PCI        OPTIONAL PCI                    OPTIONAL PCI
     INTERFACE        NTERFACE            NTERFACE                        NTERFACE
    CONNECTOR        CONNECTOR           CONNECTOR                      CONNECTOR



                     PCI-TO-PCI          PCI-TO-PCI
                       BRIDGE              BRIDGE
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  CO                                                                          g
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  CO
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                                    FIG. 5

                        REGUEST FRAME
  REOUESTER                                           RESPONDER   TIME


  REQUESTER        ACK (FOR REQUEST) FRAME            RESPONDER

  REQUESTER RESPONSE FRAME (OPTIONAL                  RESPONDER
                  ACK (FOR RESPONSE) FRAME
  social f" soca
  REOUESTER                                           RESPONDER
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              (D)                                         FIG 7C
                       556                        558                     560
             TARGET              Y       NCREMENT               COUNT
        INITIATED RETRY                  THE RETRY             OVERFLOW         Y
         N     ?                          COUNT


                                                                           EXCESSIVE
                                            TARGET                          TARGET
             ADDR &                        INITIATED                      RETRY/BUSY
       DATA ASSERTION                     PREMATURE              GD         RESPONSE
           DONE 2                         OSCONNEC                    562
                   Y
                       570                                572
              WAS            Y
         IT AWRTE OP                         'EE--GN)

                          574                            576
                                Y          MASTER TIMEOUT
                                             RESPONSE              (N)
                       578                               580
         INCREMENTAL                 Y      NCREMENTAL
       LAT           T                    LATENCYTIMEOUT
          ENCYTMEgy                          RESPONSE              GN)
                   N
                          582                           584
             TARGET                          READ DATA
                                 Y           WITHOUTA
      NITIATED PREMATURE
          DISCONNECT
                                            DISCONNECT             GN)
                                             RESPONSE
                   N
                       586                               588
  N          AL OFS Y                      READ DATAWITH
       TRDYS RETURNED                      A DISCONNECT            (N)
               ?                             RESPONSE
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   220              LOCAL                       O      )                       LOCAL         220
               PROCESSOR                                                   PROCESSOR
                                                    706

     700N           1... BUSO                                      708 -          BUSO
 710-                   PCI             DEW is 25 15                           NON-PC      DEW # = 24/275
               COMPATIBLE BUS 50
         V HOST BRIDGE SUBORDINATE) # =O
                                                                           COMPLIANT BUS 50
                                                                       y HOST BRIDGE SUBORDINATE) # =O
                          BUSO                                   710             - BUS O

  DEV         16                                           240
                                   DEW i < 16
  DEW i < 16
                   O6     + 1--
                                   DEW i < 16
        104- BRIDGE
             SSE SECONDARY)   BUS = 0
                    PCRMARYBUS 9   SUB(ORDINATE) BUS # = 0
                                                                                POSITIVE DECODNG
    SERIAL BUS                BUS O                                         - : NEGATIVE DECODNG
        40                                                                 -- : SUBRACTIVE DECODING
                    REMOTE SBUS # = 0
        114         SERAL PBUS # = 0
                    BRIDGE SUB # = 0
                        "BUSO

              116                 116                                    116
 PCTOPCI
  BRIDGE
         PCBRIDGE
             TOPCIPCTOPCIPCTOPCIPBUso
                   BRIDGE BRIDGE sto
 SBUS # = OSBUS # = 0 SBUS # = OSBUS # = 0
        BUSO                  BUS O           BUS O                BUSO



                              P                                                    FG 9A
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                                     220                                                   220
                       LOCAL                                                      LOCAL
                     PROCESSOR                                                  PROCESSOR
                                                                    706
       712

                                                                                                          STEP 8
                                                                                                   708
                           PCI                                                   NON-PCI
                    COMPATIBLE                                                                   DEW = 2427 5
                    HOST BRIDGE                                                 COMPLIANTEH,
                                                                                 HOST SUB := 0-> p
                                                                                 BRIDGE


   DEW = 0 & 16                                                                                         726

   DEW # 1 < 16

                                                     STEP3
                         LOCAL        DEV #3< 16                   716
                   SERIAL BRIDGE SBUS # 0-1
                                                                                 POSITIVE DECODING
             SERAL BUS BUS O-
                           O->                                              --- :: SUBTRACTIVE
                                                                                   NEGATIVE DECODENG
                                                                                               DECODING
                140-COD

                         REMOTE
                   SERIAL BRIDGESBUS # = 0-> 2
                                                     STEPL
                             BUS O-2

 116
  acropcipc-Topcpcropcpcropol                                                      720
   BRIDGE             BRIDGE           BRIDGE          BRIDGE
  SBUS # =           SBUS # =         SBUS #          SBUS # =
       0-> 3              O-> 4            0-> 5          0-> 6

             BUS O-> 3       BUSO-> 4         BUS O-> 5      BUS 0 -> 6



                              PCI-TO-PCI                                                 FIG 9B
                                  BRIDGE                                  722

                                     BUS O-> n-1
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                                 220                                                             220
                      LOCAL                                  -                        LOCAL
                   PROCESSOR                                                    PROCESSOR
                                                           706

          700N         ... BUSO                                        708-               BUSO
      '' ('N           PCI                DEW # 25 15                      A         NON-PCI       DEW H = 24.27 15
                 COMPATIBLE BUSHO                 COMPLIANT BUS = n
               VHOST BRIDGE SUBORDINATE) # =n-1 WHOST BRIDGE SUBORDINATE) # =m
                         BUSO                                        710               - BUS n
                                                     240
      DEW i < 16
                                  DEW i < 16
      DEW i < 16
             106-N 1.
                      DEW i < 16
          104 SEAt S(ECONDARY) BUS # = 1
                        DSE               (RMARYBUS 9
                                  SUB(ORDINATE) BUS # = a + b + c + d - 1
        SERABUS               BUS 1
           140-1-P
                                  SBUS # = 2                                          : POSITIVE DECODING
                    REMOTE P. BUS                                                    - : NEGATIVE DECODING
         114          SERIAL                    4.                               - - : SUBTRACTIVE DECODNG
                      BRIDGE SUB # =X an 1
                       + BUS 2                 n= 1

 116,
  -
                116      --
                                  16           --
                                                                               116
 PCOPCIPCTQPCIPCTOPCIPCTOPCIP
  BRIDGE BRIDGE BRIDGE
                              Bus 2
                       ERPGE SUBia.a.a. a
 SBUS i = 3 S BUS # = 4 SBUS # = 5 SBUS # = 6                                            F d, d2, a3, a 4
          BUS 3           BUS 4                BUS 5                  BUS 6



                                      -
                          Poto.pcISBUS # =y                                              FG 9C
                              BRIDGE           PBUS              Z
                                               SUB # = 0
                                      BUS x
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                                                         5,764,924
                              1.                                                              2
          METHOD AND APPARATUS FOR                              ting the serial request packet over a serial link, receiving a
        EXTENDING ALOCAL PCI BUS TO A                           serial response packet when specified by the serial request
            REMOTE /O BACKPLANE                                 message over the serial link, the serial response packet
                                                                defining a local bus operation. and performing the local bus
          BACKGROUND OF THE INVENTION                         5 operation indicated by the serial response packet. The

   1. Field of the Invention
                                                                method also comprises the steps of receiving a serial request
                                                                packet defining a bus operation from the remote I/O back
   The present invention relates generally to an apparatus for plane over a serial link, performing the bus operation, and
extending one or more local buses to a remote I/O transmitting a signal response packet to the remote I/O
backplane, and in particular, a method and apparatus for O backplane. The apparatus comprises a PCI bus interface
extending a local PCI bus to a remote I/O backplane.            processor coupled to the PCI bus, a serial link processor for
   2. Description of Related Art                                translating bus messages into serial link interface messages
  The PCI local bus is a high performance 32 or 64-bit bus and translating serial link interface messages into a bus
with multiplexed address and data lines. The PCI local bus message, and a serial link interface coupled to the serial link
was defined to establish an industry standard for high 15 processor and the serial link.
performance local bus architecture offering low cost. The          An object of the invention is to provide a fast and reliable
PCI component and add-in card interface is processor serial link message protocol to extend a PCI bus to a remote
independent, enabling an efficient transition to future pro node. A further object of the invention is to provide an
cessor generations, and may be used with multiple processor interrupt controller communication bus extension capabili
architectures. This processor-independence allows the PCI ties through the same serial link. Another object of the
local bus to be optimized for I/O functions, enabling con invention is to provide a modular PCI-to-serial link design
current operations of the local bus with the processord architecture for a multi-port switch PCI ASIC which can
memory subsystem, and accommodating multiple high per tightly couple multiple processor nodes and allow replica
formance peripherals in addition to graphics such as motion tion.
video, SCSI, and hard disk drives.                            25
  The movement to enhance the video and multi-media                      BRIEF DESCRIPTION OF THE DRAWINGS
displays of high definition TV and other three-dimensional         Referring now to the drawings in which like reference
or high bandwidth I/O will continue to increase local bus       numbers represent corresponding parts throughout:
bandwidth requirements. The PCI interface is particularly 30 FIG. 1 is a diagram showing a physical implementation of
useful in interconnecting highly integrated peripheral con the invention;
troller components, peripheral add-in boards, and processord
memory systems. The PCI interface standard also offers             FIG. 2 is a top-level block diagram of one embodiment of
additional benefits to users of PCI-based systems. Configu the present invention;
ration registers are specified for PCI components and add-in 35 FIGS. 3A and 3B together are a block diagram illustrating
cards. A system with embedded auto-configuration software, a specific implementation of one embodiment of the present
it offers true ease of use for the system user by automatically invention;
configuring PCI add-in cards at power-on. The PCI Local            FIGS. 4A and 4B together are a block diagram illustrating
Bus Specification, Rev. 2.0, incorporated herein by the serial bridges of the present invention;
reference, defines the PCI interface protocol, electrical,         FIG.S is a diagram showing the request and acknowledge
mechanical, and configuration specifications for PCI local protocol       of the present invention;
bus components and expansion boards.
                                                                   FIGS.
   The current PCI bus specification limits the maximum one embodiment    6A-6D together present a flow chart illustrating
number of add-in cards. When operating at 33 MHz, the slave and serial link        of the invention which employs PCI bus,
number of add-in cards is limited to four, and when oper 45                            master operations;
ating at 66 MHz, the PCI bus specification limits the              FIGS.  7A-7C    together  present a flow chart illustrating
maximum number of add-in cards per bus to two. With the another embodiment of the invention which employs PCI
increased processor performance, more I/O functions and and ICC bus master and serial link slave operations;
higher I/O bandwidths are required to maintain high perfor         FIGS. 8A and 8B together is a flow chart illustrating the
mance. This translates into a requirement for a large number SO logic flow for an ICC slave operation;
of I/O adapter card slots. It may be possible if a system          FIG. 9a is a flow chart illustrating the PCI bus and device
adopts a hierarchical I/O bus structure by using many levels number assignment before power up;
of PCI-to-PCI bridges, but packaging requirements limit the        FIG.9b is a flow chart illustrating the PCIbus and device
number of I/O adapter slots. Also, the multiple levels of number         assignment during power up; and
bridging incurs longer and potentially unacceptable data 55
latency values.                                                   FIG. 9c is a flow chart illustrating the PCI bus and device
                                                                number assignment after power up.
           SUMMARY OF THE INVENTON
                                                                             DETALED DESCRIPTION OF THE
  To overcome the limitations in the prior art described                       PREFERRED EMBODMENT
above and to overcome other limitations that will become
apparent upon reading and understanding the present                  In the following description of the preferred embodiment,
specification, the present invention discloses a method and        reference is made to the accompanying drawings which
apparatus for extending one or more processor buses to a           form a part hereof, and in which is shown by way of
remote I/O backplane. The method comprises the steps of            illustration a specific embodiment in which the invention
receiving a message from a local bus, generating a serial 65 may be practiced. It is understood that other embodiments
request packet from the local bus message when the bus may be utilized and structural changes may be made without
message is targeted to the remote I/O backplane, transmit departing from the scope of the present invention.
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                                                        5,764,924
                             3                                                                   4
System Overview                                                    the local serial bridge 104 and the remote serial bridge 114
   FIG. 1 is a diagram showing one possible physical imple via the local sideband signal interface 162 and the remote
mentation of the invention, FIG. 1 shows a local processor sideband signal interface 164.
board 100 coupled to a remote I/O backplane 112 by a serial          FIG. 3 is a block diagram illustrating a specific imple
link 140 comprising a first serial link cable 108 and a second mentation of the present invention. As shown in FIG. 3, the
serial link cable 110. The serial link 140 is coupled to a PCI local processor board 100 may comprise several local pro
add-in card 102, coupled to a PCI bus 106, which connects cessors 220 and associated data controllers 222 and datap
the PCI card 102 to the local processor board 100. Resident aths 224. The local processors 220 may be next-generation
on the PCI card 102 is a local serial bridge 104, which may P6 devices such as the INTEL ORION device. These local
be implemented on an application specific integrated circuit 10 processors 220 are coupled to the local PCI compliant
(ASIC). Similarly, a remote serial bridge 114 is resident on devices 240 by a Local Processor-to-PCI bridge 216, and a
the remote I/O backplane 112, also coupled to the serial link local PCI bus 106. The local serial bridge 104 is coupled to
140. The remote I/O backplane 112 also comprises remote the local PCI bus 106 and to the serial link 140. The remote
PCI-to-PCI bridges 116 and a plurality of remote PCI add-in serial bridge 114 is also coupled to the serial link 140, and
cards 124.                                                      15 transmits and receives serial messages from the local serial
   The local serial link 104 and the remote serial link 114        bridge 104. PCI compliant devices 124 in the remote I/O
may reside either in a PCI add-in card or directly on the backplane 112 are coupled to the remote serial bridge 114
mother board in a primary implementation. The dual serial via the remote PCI interface 160.
links may be copper cables, fiber optics, or any other                FIG. 3 also shows how JTAG messages are transceived
transmission medium of suitable bandwidth. Each remote             over the serial link 140. The first SPCI may be implemented
I/O cabinet 112 may contain up to 16 PCI adapters through in the local processor board 100 in either a planary or PCI
the four remote PCI-to-PCI bridges 116 as shown.                   add-in card configuration. In a planary configuration, the
   Since the serial bridges translate PCI bus protocols to serial bridge 104 is directly coupled to the JTAG bus from
serial bus protocols and serial bus protocols to PCI bus the local processors 220. JTAG messages from the local
protocols, the same type of serial bridge is used in the local 25 processor board 100 are received by the remote serial bridge
processor board 100 and the remote I/O backplane 112 to 114 from the serial link 140. If the remote serial bridge is
communicate between the PCI bus 106 on the processor also in a planary implementation, JTAG messages are pro
board and the PCIbus on the remote I/O backplane 112. The vided on the remote JTAG interface 154. In a non-planary
local serial processor 104 and the remote serial processor configuration, the JTAG signals on the standard PCI con
114 are coupled through two differential pairs of unidirec 30 nector interface will be used by both the local serial bridge
tional coaxial cables or optical fibers 140 at a frequency up 104 and the remote serial bridge 114.
to or higher than 1 gigabit per second.                               FIG.3 also shows how ICC messages are transceived over
   FIG. 2 is a top level block diagram of one embodiment of the serial link 140. In a planary configuration. the local serial
the present invention. As shown in FIG. 2, the local PCI bus bridge 104 communicates with the local processor advanced
106 is coupled to the local serial bridge 104 via a PCI 35 programmable interrupt controllers (APICs) 232 directly
interface connector 107 and a local PCI interface 158              through the ICC bus. If the serial bridge is implemented in
thereby providing communications from the PCI bus 106 to an add-in card, interrupt messages are communicated indi
the local serial bridge 104. The local serial bridge 104 is rectly through another APIC or in a virtual wire mode.
coupled to the remote serial bridge 114 via a serial link 140 Similarly, if the remote serial bridge in the remote I/O
comprised of a first serial link cable 108 and a second serial backplane is configured in a planary implementation, inter
link cable 110. The remote serial bridge 114 may be option rupt messages can be transmitted from the serial bridge
ally coupled to remote PCI interface connectors 138 via a directly over the remote ICC interface 156. If not, either PCI
remote PCI interface 160. These remote PCI interface con           compliant signals must be multiplexed or an additional
nectors 138 are optional since the remote serial bridge 114 connector has to be added.
can be connected directly to four PCI-to-PCI bridges 116. 45 FIG. 3 also shows one implementation in which an
The remote PCI interface connectors 138 provide commu EISA/ISA bus 234 is extended to a remote I/O backplane
nication between the remote serial bridge 114 and a plurality 112. As shown in FIG. 3, EISA/ISA compliant devices 230
of PCI-to-PCI bridges 116. These bridges in turn provide may communicate with the local serial bridge 104 and hence
communication with up to 16 PCI adapters or remote PCI the remote I/O backplane 112. The EISA/ISA compliant
add-in cards 124. The present invention also supports the 50 device 230 is coupled to a PCI-to-EISA bridge 226 via a
extension of JTAG and Interrupt Control Communication EISA/ISAbus 234. Similarly, the PCI-to-EISAbridge 226 is
(ICC) buses through a serial link. The JTAG interface is coupled to the local processor-to-PCI bridge 216 by a second
described in the PCI Specification, which is incorporated by local PCI bus 126.
reference herein. If either the remote serial bridge 114 or the Serial Bridge Description
local serial bridge 104 are mounted directly on a mother 55 FIG. 4 is a block diagram of one embodiment of the serial
board in a planary configuration, the ICC, JTAG, and bridges 104 and 114 of the present invention. The local serial
 sideband signal interfaces are coupled directly to the moth bridge 104 comprises a PCI macro set 304 which is coupled
erboards shown in the dashed boxes of FIG. 2. However, if          to the local PCI interface 158. The PCI macro set 304 is an
the remote serial bridge 114 or the local serial bridge 104 are off-the shelf device such as DESIGNWARE components
implemented on a PCI add-in card (a non-planary 60 available from SYNOPSIS. The PC macro set 304 is also
implementation), the ICC, JTAG, ahd sideband messaging coupled to a first extension processor 300 and a second
 must be accomplished through the PCI interfaces 106, 160. extension processor 302, which perform identical functions.
   As shown in FIG. 2, the local serial bridge 104 is coupled Two extension processors are used to provide redundant
to a local ICC bus 130 via a local ICC interface 152.              communication links in case of link failure. The first and
 Similarly, the remote serial bridge 114 is coupled to a remote 65 second extension processors 300 and 302 are also coupled to
ICC bus 134 via a remote ICC interface 156 respectively. a first serial cable interface 306. and a second serial cable
 Finally, sideband signals are provided to and received from interface 308, respectively. The serial cable interfaces trans
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                                                          5,764,924
                             S                                                                   6
late serial messages over the serial link 140 into parallel        module 340. Since the I/O APIC function is the only focal
messages for the first and second extension processors 300         point for local interrupts in the remote I/O backplane 112,
and 302. The serial link operates either synchronously or          the APIC macro 360 is required in the remote serial bridge
asynchronously to the PCI bus clock. If the serial link is         114. However, in the local serial bridge 104, the operation of
asynchronous, it must ordinarily operate at a higher fre           the ICC bus interface processor 339 with the ICC interface
quency than the PCI bus clock.                                    152 may optionally be controlled by an APIC macro 360,
   The first extension processor 300 comprises a PCI bus          which is responsive to APIC module interrupt inputs 362.
interface 309, a serial link interface 313, PCI buffers 318,         If the local serial bridge 104 is connected planarly to the
serial buffers 320, and a configuration register 319. The PCI motherboard,
                                                                  cate  directly
                                                                                  the SPCI interrupt controller may communi
                                                                                 with   local APICs though the processor ICC
bus interface 309 includes a PCI master logic module 310 interface 152. However,
                                                                O
                                                                                              if the serial bridge is mounted on a
and a PCI slave logic module 312. Similarly, the serial link PCI add-in card in a non-planary            implementation, the SPCI
interface 313 includes a serial link master logic module 314, interrupt controller uses the INTB.
and a serial link slave logic module 316. Similarly, the add-in card connector pins describedINTR.                  and INTD PCI
second extension processor 302 also comprises a PCI bus specification. Alternatively, the PRSNT 1# andPCIPRSNTin the      interface
                                                                                                                                2#
interface 321 including a PCI master logic module 322 and 15 signals on the PCI interface can be multiplexed with inter
a PCI slave module 324, a serial link interface 323 including rupt signals, using a divided-down derivative of the PCI
a serial link master logic module 326 and a serial link slave clock for the ICC bus clock. Further information on this
logic module 323, PCI buffers 330, serial buffers 332 and a technique is disclosed in the commonly assigned application
configuration register 331. The configuration register 319 in Ser. No. 08/518.739 filed Aug. 24. 1995, by Soon Hong.
the first extension processor 300 and the configuration entitled "Method and Apparatus for Multiplexing Bus Con
register 331 in the second extension processor 302 support nector Signals with Sideband Signals", which application is
PCI configuration, initialization, and catastrophic error han hereby incorporated by reference. Finally, when the remote
dling. Each configuration register comprises a pre-defined serial bridge 114 is mounted planarly on the remote I/O
device independent configuration register region and a backplane 112, it may receive up to sixteen interrupt signals
device specific region. The predefined device independent 25 directly from PCI add-in cards 124 and transmit interrupt
configuration register region contains fields for unique iden information over the serial link 140. The operation of the
tification and control. The fields within the device indepen ICC bus interface processor is further described with refer
dent configuration register region are summarized in Table ence to FIGS. 6A-6D, 7A-7C and 8A-8B herein.
1. The operation of this portion of the configuration register      In another embodiment of the invention, the local serial
is generally described in the PCI local bus specification bridge 104 and the remote serial bridge 114 also comprise a
incorporated by reference. The fields within the device sideband interface 350 coupled to sideband signals 352 and
specific region of the configuration register shown in Table the PCI macro set 304. Sideband signalling is especially
2 are used for implementing the extension processor 300 useful when the PCI bridge is used to interface with a legacy
functions described herein. The functions and defining fields bus without a backoff capability, such as an MCA or
for PCI bus control using the device specific region are 35 EISA/ISA. When interfacing with legacy buses of this type,
shown in Table 6. The functional operation of the PCI bus a deadlock situation may be encountered. To prevent dead
interface 309 and the serial link interface 313 is described in   lock occurring, at least two sideband signals-flush request
greater detail below.                                             and flush acknowledge-must be available throughout the
   In addition to the functions provided by the local serial PCI bus hierarchy. The use of flush request and flush
bridge 104, the remote serial bridge 114 on the remote I/O acknowledge messages to avoid deadlock with a EISA/ISA
backplane 112 provides integrated PCI bus arbitration logic bus is discussed in "Advance Information" 8237SEB
and a focal point for local interrupts for its subordinate PCI S$5.4.6. 5.4.6.2, and 5.4.6.3, incorporated by reference
modules. To accomplish this, the remote serial bridge 114 in herein.
the remote I/O backplane 112 further comprises a program            In the embodiment described above, sideband signals are
mable PCI bus arbitration controller 353. and an Interrupt 45 extended to the remote I/O backplane using the serial link.
Controller Communication (ICC) bus interface processor If the PCI add-in card is mounted on the motherboard in a
339. Of course, while not required to practice the present planary manner, the sideband signals can be input directly to
invention, the programmable PCI bus arbitration controller the serial bridge by the sideband signal interface 352.
353 and the bus interface processor may be implemented in However, in non-planary implementations, the sideband
the local serial bridge 104 as well.                          50 signal must be multiplexed on the PCIbus 158. This can be
   The programmable PCIbus arbitration controller 353 and accomplished using the PRSNT1F and PRSNT2# signals as
the ICC bus interface processor 339 will now be described        described in a co-pending application for "Method and
The programmable PCI bus arbitration controller 353 com Apparatus for Multiplexing Bus Connector Signals with
prises an arbitration interface module 354, and an arbitration Sideband Signals" by Soon Hong and assigned to the
logic module 356. Since the maximum number of planary 55 assignee of the present application.
modules/bus is eight, the arbitration logic module 356 can          Finally, in another embodiment of the invention, the serial
support up to eight PCI modules, so that there will be eight bridge also comprises a JTAG interface processor 343,
request and grant signal pairs 358. Since integrated arbitra comprising a JTAG interface module 344 coupled to a
tion logic cannot be used with the local serial bridge 104 in standard 5-pin JTAG interface 150 and to a JTAG interface
the local processor board 100, external arbitration logic logic module 346. The JTAG interface logic module 346 is
using a single pair of the eight pins is required.               also coupled to a JTAG data module 348 for data. The JTAG
  The ICC bus interface processor 339 is coupled to the first interface processor 343 provides a test interface for the
extension processor 300, the second extension processor system. As with the ICC bus and sideband signals, if the
302, and the processor ICC interface 152. The ICC bus serial bridge is not in a planary implementation, the PCI
interface processor 339 comprises an ICC bus interface 342 65 interface JTAG TDK, TDI, TDO, TMS, and TRST# signals
coupled to the processor ICC interface 152, an ICC bus (as described in the PCI specification) are used for messag
interface logic module 340, and an ICC bus interface data Ing.
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                             7                                                                    8
Extension Processor-PCI Bus Interface                             Table 4. The next four bits of the serial messages comprise
   The PCI bus interface 309 protocol supports the Dual the operations code for the packet. As shown, different
Address Cycle (DAC) in both directions. This allows 64-bit operations codes are available for each packet type.
memory addressing. To store data from the directly con              Since each serial message is of limited length, PCI
nected remote PCI-to-PCI bridges 116, each PCI bus data payloads that exceed the serial message length must be
path contains four sets of buffers, including PCI buffers 330, segmented. In this case, each packet will include an opera
and serial buffers 332 for posting write data and read data. tions code indicating whether the message contains the
This is effectively one set of buffers per single PCI adapter beginning of a new payload, a continuation of the previous
module. Each set of buffers has a 64-bit address buffer and       payload, or the end of the payload. The operations code also
a 32 byte (equivalent to a line size) data buffer. Therefore, 10 supports other commands as described in Table 4. The
the total buffer size for a pair of serial bridges is 512 bytes remaining header bits contain information regarding address
(2 SPCI ASICsx2 PCI data pathsx4 sets of buffersX32 and data length for PCI and turn-around commands, trans
bytes/buffer).                                                    action identification, and parity bits. This simple data packet
   To maximize PCI bus bandwidth, each serial bridge format encapsulates all necessary PCI bus operations.
supports the PCI retry/disconnect protocol described in the 15 The media for the serial link 140 can be either a coaxial
PCI specification herein incorporated by reference. If this cable or optical fiber and each link can be operated in excess
mode is enabled programmatically through the configuration of 16bit/second, resulting in a peak bandwidth for each link
registers described in this specification, the serial bridge will in excess of 100 MB/sec. Effective bandwidth will vary
respond with a retry response without any data transfer to the greatly depending upon total latency to memory, ratio of
PCI master. In this situation, the master initiates a read        write operations to read operations, and contention for PCI
operation to a remote target and the serial bridge captures the bus bandwidth from other PCI bus adapters. Encoding is
address and initiates a read operation to a remote target employed on the serial link interface to provide DC signal
through the serial link 140. Once data is returned from the balance and to allow clock re-synchronization at the
remote target, it is buffered in the serial bridge. Later, when receiver.
the PCI master "retries," the serial bridge provides the data 25 Data integrity is maintained across the serial interface by
with no further retry response. This process is summarized passing the PCI bus module-generated parity bits through
in FIGS. 6A-6D, 7A, 7B-7C and is described in further             the payload packet and generating an 8-bit error correcting
detail below under "Extension Processor-Operations.”              code (ECC) for each 37-bit data in the payload, comprising
Extension Processor-Serial Link Interface                         32 bits of address or data, a 4-bit CMD/BE and a 1-bit parity.
   As previously discussed, each serial bridge nominally 30 If an error is reported by a receiver, then the sender can
comprises a first extension processor 300 and a second retransmit the same message an additional time. Table 5
extension processor 302. Each extension processor has its shows the 6-bit and 8-bit error correcting code used in the
own private serial link cable 108 and 110 to communicate serial link for both the 10/24bit ICC bus messages, and the
with other serial bridges. The serial link cables 108 and 110 37-bit PCI messages, respectively. Table 5 shows the map
have differential transmit and receive channels totaling four 35 ping from the ECC to indicate the defective bit in a message
wires that is used to send and receive PCI bus operations to packet.
and from its associated PCI bus interface.                        Extension Processor-Operations
   The serial link interface enforces a request-and-wait-for         FIGS. 6A-6D, 7A-7C, and 8A-8B depict the operations
acknowledge handshaking protocol. This protocol is sum performed by the extension processor 300, including the PCI
marized in FIG. 5. As shown in FIG. 5, a request frame is bus interface 309, the serial link interface 313, the PCI
sent by the requesting entity to the responding entity over the buffers 318, the serial link buffers 320, and the configuration
serial link. The requesting entity may be a PCI compliant registers 319. The situation depicted in FIGS. 6A-6B occurs
device in the local processor board 100 or in the remote I/O when the PCI bus interface 309 is in the slave mode and the
backplane 112. or another entity using an ICC bus or serial link interface 313 is in the master mode. Referring
supplying a sideband signal. The responding entity responds 45 now to FIGS. 6A-6B the PCI bus 106 begins in a PCI idle
initially by transmitting an acknowledge frame to the state 400. From this state, the PCI bus, which may be the
requester which acknowledges the successful receipt of the local PCI bus 106 or the remote PCI bus 118, may provide
request frame. Thereafter, if the request frame so requires, a flush request to prevent the deadlock situation previously
the responding entity sends a response message. Finally, to described or a PCI frame and address hit indicating that a
confirm that the response was received, the requesting entity 50 read or write operation is desired 402. If a PCI operation is
transmits an acknowledge frame. This handshaking protocol requested, serial link operations begin as indicated at 409. If
ensures an orderly and reliable delivery of messages which the PCI bus provides a PCI operation, a check is made to
comprise a header (control) and payload (address and/or determine the operation is a local operation to the requesting
data) packet.                                                     PCI bus or if there is space available in the PCI buffer 318
   The message format is summarized in Table 3, which 55 to store the PCI operation 404. A PCI buffer 318 is required
 shows the structure of the messages sent from the respond to store the operation unless local access is specified by the
ing and requesting parties. As shown in Table 3, the full size PCI operation. If the operation is not a local operation, a
frame format for a serial message or packet includes a 16-bit target initiated retry is asserted to the PCI bus until a buffer
flag, a 16-bit header, and a payload. The payload may is available 406. If the operation is a local read 408, the data
comprise either an address, data, or both an address and data, is asserted to the PCI bus 410, completing the read operation
depending on whether the whether the message type is a 412, and returning the PCI bus to the idle state 400. If the
request frame, an acknowledge frame, or a response frame. operation is a local write, the operation is performed 416,
   The flag is a 0xF09C pattern with an asserted SYNC and the PCI bus is returned to the idle state 400. If the PCI
 signal. The header is 16 bits in length, and the first two bits operation is a remote write operation, control is asserted to
indicates the packet type, i.e. whether the serial message is 65 the PCI bus to indicate that the data has been posted 418. At
 a request packet, a response packet, or an acknowledge this point, from the PCI bus perspective, the desired write
packet. The code for the header of the packet is presented in operation has been performed 419, and the data is sent to the
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                                                                                                 10
serial link to be transmitted. Conversely, if the write opera       data is asserted to the PCI bus and a read buffer busy bit is
tion is not a posted write operation, the operation is for          reset 464. If the read disconnect is enabled, the data is
warded directly to the serial link to be transmitted.               available for a retried PCI read operation 460.
  If the selected PCI bus operation is a read operation, the           Referring now to FIGS. 60-6D if the response is an
PCI interface checks to see if the read disconnect is disabled 5    indication that the non-posted write was completed 466, the
417. This is indicated by an operations code of 0010 on the         PCI bus lines are asserted to signal that a non-posted write
response packet as shown in Table 4. If the read disconnect         was completed 470, and the PCI interface is returned to the
is disabled, it indicates that the data packet represents the       idle state 400. If the response is an excessive retry busy
last of the data to be read by the PCI interface. If the read       indication 472 (indicated by an operations code of 0.101 in
buffer is hit 462 the data is asserted to the PCIbus, and a read    Table 4), or an indication that no DEVSEL was obtained 474
buffer busy bit is selected 464. If the read buffer has not been    (indicated by an 0110 operations code), or there is a parity
hit 462, a target initiated retry is asserted to the PCI bus 463,   or error correcting code (ECC) response indicating that an
and this process continues while the data is read from the         error was detected 478 (indicated by an 0.111 operations
  erote TeSOce,                                                    code), or a system error indication is received 480 (indicated
    Serial link operations are also shown in FIGS. 6A-6B. As 15 by a 1000 operations code), a system error message is
indicated, upon receiving data for transmission over the transmitted 476. If the command was a flush request com
 serial link, the serial link is queried to determine if a link is mand 402 (indicted by a 1001 operations code in the request
currently available 420. If not, the process is retried until a packet), the expected response is a flush acknowledge
 serial link is available. The data is not lost during this response (indicated by a 1001 code in the response packet),
process because it resides in the write buffer. Once a serial 20 and the link awaits the flush acknowledge signal 482 until it
link becomes available, a request packet is sent to the serial is received 484, or until the flush acknowledge signal timer
transmit link 422. At this time, a serial link timer begins. times out 488. If the flush acknowledge signal times out, an
After a fixed delay, an acknowledge message (ACK) is error message is transmitted 476. If not, the flush acknowl
received and interpreted. The ACK message is checked to edge signal is asserted, and the PCI interface is returned to
see if it is OK 424, busy 426, or no acknowledge (NAK) 25 the idle state 400. If the response is an APIC EOI response,
436. If the ACK message is busy 426, the link waits a it is ignored 492 and if it is an undefined response, an error
specified number of cycles, increments a "busy" counter by message is transmitted 494.
one 430, and checks to see if this counter has overflowed             FIGS. 7A-7B is a flow chart illustrating the PCI bus
432. If it has not, another request packet is sent to the serial master and serial link slave operations. As shown in FIGS.
link 422. If the counter has overflowed, an error message is 7A-7B, the serial link is nominally in the idle state until a
supplied 434. The counter for these operations resides in the flag (consisting of the first 16 bits in the message packet
device specific configuration register as shown in Table 2. shown in Table 3) is detected 500. Once a flag is detected,
Returning to FIGS. 6A-6B if the ACK message is NAK or the header is decoded to determine which packet type the
CRC error, the NAK counter is incremented by one, and message is, and the message parity is verified 502. As
checked to see if it has overflowed. A similar process to that 35 described in Table 4, the message type is indicated by bits
which occurs when the ACK message is "Busy" is then 15-13 of the header, and the parity is verified using bits 1
performed, namely, the process is repeated until the counter and 0. If the packet is an acknowledge packet (as indicated
overflows, then an error message is provided. The NAK by bits 15 and 14 being set to 1 and 0 respectively), the
counter is also located in the device specific configuration packet is passed to the PCI or ICC bus slave logic previously
space as shown in Table 2. This handshaking protocol described 506. If the packet is a request or response packet
assures that the transfer of data across the serial link is        508, operations continue, but if the packet is neither, an error
orderly and as error free as possible.                             message is transmitted 510.
   If the ACK message is OK, the serial link processes                Next, the packet is checked to determine if the error
continue as shown in FIGS. 6A-6B. If the PCI operation was         correcting code indicates that the packet has an error 512. If
a posted write 442, a write buffer busy bit is reset 444, and 45 so, an acknowledge packet is generated indicating that an
the posted write is completed. If instead, the PCI operation error is present in the packet 514, and this is sent for
is a read operation, a response is expected, and the process transmission over the serial link. If a serial transmit link is
continues. Since a response is expected, the interface is available 516, the packet is sent to the serial transmit link
checked to determine if a response has been received 448. If 518 and the serial link returns to the idle state. If the error
a response has not been received a response timer is correcting code does not indicate a packet error 512, the
checked, and if it has timed-out, an error message is pro serial link buffer 320, 332 is checked to determine if it is
vided 434. If the response timer has not timed out, the link available to store data 522. If not, an acknowledge packet is
waits for the response. Several responses can be received, generated, indicating that the link is busy 524, and trans
including the following: read data 452, an indication that a mitted over the serial link as described above. If a serial link
non-posted write was completed 466, a response indicating 55 buffer 320, 332 is available, an acknowledge packet indi
that there has been an excessive retry/busy attempts 472, a cating that the message was properly received is generated
response indicating that there is no DEVSEL response 474 526, and transmitted over the serial link as described above.
as defined by the PCI interface specification, a response             Next, the packet is checked to determine if it is a request
indicating a parity error or error correcting code (ECC) error packet (indicating that the master is requesting data or an
response 478, a system error response 480, a flush acknowl operation from the slave bus) 532. If the message indicates
edge response 482, a flush acknowledge response 490, or an that the packet is not a request packet, but a response packet,
APIC End of Interrupt (EOI) response 492.                          the packet is passed to the PCI and ICC bus slave logic 530
    If the response is returned data 452, the data is stored in and the serial link becomes idle. If the packet is a request
one of the buffers and re-read 456 until all of the data in the    packet, it is checked to determine if it requires a remote or
message is received. The end of a read message is indicated 65 a local operation. If the operation is a local operation, the
by a response packet operations code of 0010 as shown in packet is checked to determine if a response is required 534.
Table 4. If the read disconnect has not been enabled 458, the      If no response is required, the serial link becomes idle. If a
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                               11                                                              12
response is required, a response packet is created and sent timed out, the process of waiting for the TRDY signals from
over the serial link 536 as described above. If the operation all of the targeted devices continues. Finally, during this
is a remote operation, the operations code of the packet is process, if a target initiated premature disconnect is received
checked to determine if the packet specifies a PCI or an 582, the data is read without a disconnect response 584, and
APIC operation 538. If a PCI operation is selected, the PCI 5 a packet with the appropriate message is sent to the serial
bus is arbitrated for 540, until granted542. Once the PCI bus link.
is granted, the selected operation is initiated to the PCI bus Extension Processor-ICC Controller Operations
544. If a parity error is detected on the address or data 546.      If the serial bridge is in a planary implementation
an error message indicating this situation is generated 548, (mounted directly on the motherboard), the host side of the
a response packet indicating this problem is generated 536, bridge can be directly connected to the ICC bus. If the serial
and the packet is transmitted over the serial link as described bridge is in a non-planary implementation such as on a PCI
above. If no parity error is detected, the PCI targets are add-in card, one of the four PCI interrupt signals (INTAff.
checked to see if the DEVSEL signal is active. For fast speed INTB#, INTC#, and INTD#) are used to deliver interrupts to
operations, this operation is repeated for two cycles, and if either the LINTINO of a local APIC in a virtual wire mode,
no DEVSEL signal becomes active during this time, a "no 15 or an interrupt input pin of an I/O APIC in the symmetrical
target device selected" response is generated 554, used to I/O mode.
generate a response packet 536, and sent over the serial link       The shaded area of FIGS. 7A-7B shows the ICC control
as described above. The DEVSEL signal active state is ler operations for a planary implementation of the serial
checked more often before generating a "no target device bridge. As shown in FIG. 7A-7B, when remote operation is
selected” signal for medium, slow, and subtractive decoding identified 532, the operation is checked to determine if it is
operations. For medium speed operations, the DEVSEL a PCI or an APIC operation 538 as indicated by the opera
signal active state is checked three times. for slow speed tions code. If the operation is an ICC operation, the ICC bus
operations, the DEVSEL signal active state is checked four is arbitrated for 590 until owned 592, at which time, the
times, and for subtractive decoding, the signal state is APIC message or operation is asserted to the ICC bus 593.
checked five times, before generating the error message. If 25 If a checksum error is received 594, an error message is
the DEVSEL active state is sensed, the PCI interface is           generated. If a retry message is not received 595. the process
checked to see if a target initiated retry was obtained 556. As is complete, and the serial link returns to the idle state. If.
described in the PCI interface specification incorporated however, a retry message is received 595, the process is
herein by reference, this indicates that termination of the repeated by again arbitrating for the ICC bus 590 until the
operation is requested because the target is currently in a 30 counter overflows 597. If an excessive number of retry
state which makes it unable to process the transaction. This messages are received as indicated by the overflowing of the
may be during a non-PCI resource busy condition, or an incremented counter 597, the process is halted, and an error
exclusive access locked condition. Target initiated retry message is generated 598.
indicates that the transaction is terminated and no data was        It is possible that the local PCI bus 106 and the remote
transferred. If a target initiated retry was obtained 556, the 35 PCI bus 160 will try to lock the PCI bus simultaneously. The
retry counter is incremented 558 and checked for overflow serial bridge will resolve this conflict in favor of the remote
560. If the counter has not overflowed, the process re-begins PCI bus, and allow the bus to be locked. The local PCI bus
anew by arbitrating for the PCI bus 540. If the counter 106 will then initiate a retry.
overflowed, an "excessive target retry/busy response" mes            FIGS. 8A-3B is a flow chart illustrating an embodiment
Sage is generated 562, a response packet is generated with of the invention employing interrupt controller communica
this message 536 (indicated by an operations code for the tion slave operations. The shaded area of FIGS. 8A-8B
response packet of 0101 as shown in Table 2), and sent over shows the ICC controller operations for a planary imple
the serial link as described above. If no target initiated retry mentation of the serial bridge. As shown, when an APIC
indication is received from the PCI bus, the status of the        message is received directly from the ICC bus, it is exam
address and data assertion to the PCI bus is checked 564. If 45 ined for a checksum error 602. If a checksum error is found,
the address and data assertion is not completed and not a message indicating this condition is asserted and the ICC
prematurely disconnected 568, the completion of the address bus returns to the idle condition. If there is no checksum
and data assertion is rechecked. If the link was prematurely error, the message is examined to determine if it is a remote
disconnected, the PCI bus is again arbitrated for 540. read message 606. If so, it is ignored, and the ICC bus
beginning the whole process anew.                             50 returns to the idle state. This is the case because only
  If the requested PCI bus operation was a write operation response packets (from the host side) and request packets
570, a "write done" response is generated 572, and a (from the remote I/O backplane side) should emanate from
response packet with this information is generated and the ICC bus. Next, the ICC bus message is stored in a buffer.
transmitted over the serial link as described above. If the      if available. If a buffer is not available 608, a retry status is
requested PCI bus operation was a read operation, the 55 asserted to the ICC bus, and the process begins anew with
process continues until all TRDY (target ready) responses the ICC bus idle.
are returned 586. When all TRDY responses are returned,             After the ICC bus message is stored in the buffer, the
the selected data is read with a disconnect response 588 serial transmit link is examined to determine if it is available
indicating that all of the requested data has been received. 612. If it is available, a packet is generated with a proper
While the status of the TRDY signals is checked, the master operations code and payload and transmitted over the serial
latency timer 574 and the incremental latency timer 578 are link 614. The serial link timer then begins to count, and
imposed, each being checked to assure set limits on the awaits the acknowledge signal from the serial link. The
appropriate delay for receiving the TRDY signals from the acknowledge signal may be either "OK"Busy."No
targeted I/O devices. If either has timed out, the appropriate Acknowledge (NAK). or a "CRC Error. "If the acknowledge
response message is generated, a response packet is formed 65 signal is "busy"618, after a specified number of cycles 620.
with the response message, and the packet is transmitted a "busy" counter is incremented by one 622, and checked to
over the serial link as described above. If neither timer has      see if it has overflowed 624. If the counter has entered an
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                                                         5,764,924
                             13                                                                 14
overflow condition, an error message is generated 626. If the    devices on the main processor bus 706 are assigned a DEV#
 counter has not entered an overflow condition, the link is      greater than 15. This is indicated on FIG.9B as step one 712.
 retried by re-examining the serial link to determine if it is Next, devices on the PCI buS 106 Such as the local PCI
 available 612. If the acknowledge signal is a "NAK" or a compliant devices 240 are assigned a unique DEV#. This is
 "CRC Error." indicating that the link is garbled, a NAK indicated on FIG.9B as step two 714. Next, the local serial
 counter is incremented 630 and checked to see if it has         bridge 104 is given a secondary bus (S-Bus) number of 1 and
 overflowed 632. If the NAK counter has overflowed, an           a DEV# higher than the other entities on the PCI Bus is
 error message is generated 626. If not, the link is retried. If assigned to the local serial bridge 104. This is indicated on
 an ACK response "OK" message is received by the host side FIG.9B as step three 716. Next, the remote serial bridge 114
 of the bridge. ICC message was a response packet and the 10 is assigned the S Bus designation of 2. This is indicated on
 EOI operation is completed, therefore no further serial link FIG.9B as step four 718. Next, PCI-to-PCI bridges 116 are
 operations or messages are necessary. If the response was assigned S-Bus numbers of 3, 4, 5, and 6, respectively. This
 from the I/O side, the ICC message was a request packet and is shown diagrammatically on FIG. 9B as step 5 720. This
 a data response is expected. An error message is generated process continues until an S bus designation is assigned to
 642 if the response packet is not received 638 within the 15 each secondary bridge. Next, each hierarchical level of PCI
 response timeout time 640. Similarly, an error message is bridge structure is assigned a Primary bus (P-bus) number.
 generated 642 if the APIC EOI response is not received 644 For example, the local serial bridge 104 is assigned a P-bus
within the EOI timeout response time 646. When the APIC number of 0, the remote serial bridge 114 is assigned a P-bus
 EOI response is received, the ICC bus is arbitrated for 648, number of 1, and the PCI-to-PCI bridges 116 are assigned a
and when the bus is granted 650, the EOI message is asserted P-bus number of 2. This process is completed until all
to the f(O APIC 652.                                             hierarchical levels receive a P-bus number. Finally, each
Configuration of PCI Modules at Power-Up                         entity is assigned a subordinate bus (Sub-bus) number,
   Since the PCI Local Bus architecture requires a unique which indicates how many subordinate buses are hierarchi
designation for each device, a hierarchical PCI bus archi cally below on the interface. This is indicated by FIG. 9B as
tecture configuration must be defined upon power-up. FIGS. 25 step seven 724. Finally, the same process is completed for all
9A, 9B and 9C show diagrammatically how this process is other entities on the local processor bus 706. This is indi
completed through the serial link. The situation before cated on FIG. 9B as step eight 726.
power-up is depicted in FIG. 9A. FIG. 9A shows a local              FIG. 9C shows the identification designation assignments
serial bridge 104 coupled to a remote serial bridge 114 in the when the process is completed. As shown in FIGS. 9A-9C.
remote I/O backplane 112 by the serial link 140. The local 30 when the process is completed, each entity in the remote I/O
serial bridge 104 is coupled to a PCI compatible host bridge backplane 112 is assigned an S-Bus, P-Bus, and Sub-Bus
700, as are other local PCIBoards 702 through the local PCI number. The P-Bus number indicates the hierarchical level
bus 158. The PCI compatible host bridge 700 also may be of the entity, and the S-Bus number is applied to each entity
coupled to a local processor 220 such as a next-generation in numerical sequence. The Sub-Bus number indicates how
P6 device using a local processor bus 706. Non-PCI com 35 many subordinate buses exist below each level. For
patible devices 708 may also be coupled to the local pro example, the Sub-Bus number assigned to the remote serial
cessor bus 706.                                                  bridge 114 is the number of entities hierarchically below it,
   All devices are assigned a device number (DEVA). O
Devices on the main processor bus 706, including the PCI
compatible host bridge 700, are assigned unique DEV#s
greater than 15. PCI-compliant devices coupled to the PCI
compatible hostbridge 700, including the local serial bridge
104. are assigned DEV#s equal to or less than 15.                at-1.
   The local serial bridge 104 is assigned a DEV# and a            The P-Bus number is 1, indicating that it is hierarchically
subordinate bus (S Bus) number. The local serial bridge is 45 below the local serial bridge (which has a P-Bus number of
assigned the highest DEV# of all devices coupled to the PCI 0), and above the PCI-to-PCI bridges 116, which are
compatible host bridge 700. The remote serial bridge 114 assigned a P-Bus number of 2. This process is completed for
and PCI-to-PCI compatible bridges 116 are identified by a entities on the local processor bus 706, with subordinate
secondary bus number (S-Bus), primary bus (P-Bus) entities.
number, and subordinate bus (Sub-Bus) number. These 50 The foregoing description of the preferred embodiment of
identification numbers are stored in the configuration the invention has been presented for purposes of illustration
register, and are indicated by the "Subordinate Bus #." and description and is not intended to be exhaustive or to
"Secondary Bus #,” and “Primary Bus #" fields in Table 2. limit the invention to the precise form disclosed. Many
   The steps performed to assign unique numbers to other modifications and variations are possible in light of the
identities is shown in FIG. 9B. Initially, the PCI compatible 55 above teaching. It is intended that the scope of the invention
host bridge 700 and other devices on the main processorbus be limited not by this description, but rather by the claims
706 are configured using external and internal hardwire appended herein.
straps 710. All PCI compatible host bridges 700 and other PCI Configuration Register
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                                                                                5,764,924
                                        15                                                                                      16
                                               TABLE 1.
                                      PCI Configuration Register
31                                             16                         08                       00
                    Device D                                Wendor D(101Ah)                        O)
              PC Bus Status                                PC Bus Command                          04
                          Class Code(060400h.)                                 Revision ID         08
 Reserved (BIST) Header Type(81h)                    Latency                   Cache Line          OC
                                                    Timer(LT)                     Size
                              Reserved(Base Address Registers)                                     10
                              Reserved(Base Address Registers)                                     14
     Secondary LT       Subordinate Bus #           Secondary Bus #        Primary Bus if          18
       Reserved (Secondary Interface                    I/O Limit               LO Base            1C
                    Status)                             Address                 Address
          Memory Limit Address                            Memory Base Address                      20
     Reserved (Prefetchable Mem. Limit                 Reserved (Prefetchable Mem                  24
                   Addir)                                      Base Addir)
          Reserved (Upper 32-bit Prefetchable Memory Base Address for a                            28
                                    DAC cycle)
          Reserved (Upper 32-bit Prefetchable Memory Limit Address for a                           2C
                                   DAC cycle)
     Reserved (Upper 16-bit I/O Limit         Reserved (Upper 16-bit I/O                           30
                 Addr)                               Base Addr)
                                          Reserved                                                 34
                          Expansion ROM Base Address                                               38
              Bridge Control               Interrupt Pin                        Interrupt          3C
                                                                                  Line



                                               TABLE 2
31                                        16                        08                             OO
       PCI Operation through the                   Serial Link           Serial Link NAK           40
     Serial Link Response Latency               Input Buffer          Acknowledgement
                  Tiner                             Busy Ack                   Counter
                                                    Counter
       End of Interrupt(EOI) Message Response Latency                      APIC Target             44
                               Timer                                      Retry Counter
      Serial Link         Serial Link          PC Bus Control            Target Initiated          48
         Status             Control                                       Retry Counter
            Memory attributes for DOS compatible memory region                                     4C
                          (000080000-000OFFFFFh)
 Upstream Memory Limit Address         Upstream Memory Base Address                                50
        Upper 32-bit Memory Base Address for an upstream DAC cycle                                 54
       Upper 32-bit Memory Limit Address for an upstream DAC cycle                                 58
   Memory Hole Limit Address             Memory Hole Base Address                                  5C
          Upper 32-bit Memory Hole Base Address for a DAC cycle                                    60
          Upper 32-bit Memory Hole Limit Address for a DAC cycle                                   64
             Upper 32-bit Memory Base Address for a DAC cycle                                      68
            Upper 32-bit Memory Limit Address for a DAC cycle                                      6C
      Upper 32-bit Memory Base Address for a downstream DAC-to-SAC                                 70
                                         translation
         Upper 32-bit Memory Limit Address for a downstream DAC-to-SAC                                 74
                                         translation
       Reserved                  Embedded O APC Base                      Embedded O               78
                                Address (Default = OFECh)                     APC
                                                                          DD (0000xxxx)
                                          Reserved                                                 7C
                                                                                                   FF


Full size frame format                                                                   55
                                                                                                                      TABLE 3-continued
                                   TABLE 3                                                         New PC write
16 bit      16 bit             Addr (48/96 bit)        Data (16-384 bits)                     16 bit 16 bit            Addr (4896 bit)         Data (48/96/384 bits)
Flag        Header                        Payload (optional)                                  Flag     Header                            Payload
3 different frames                                                                       60       Continued PC write
1. Request frame                                                                              16 bit 16 bit         Data (48/96/384 bits)
     New PCI read                                                                             Flag      Header             Payload
16 bit 16 bit                   Addr (48/96 bit)                                                   PCI control message for terminations, errors & aborts
Flag     Header                     Payload                                                 16 bit 16 bit
     Continued PCI read                                                                     Flag     Header
16 bit 16 bit                                                                            65      APIC short/LP message
Flag        Header                                                                            16 bit        16 bit      Data (32 bits)
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                                                                          5,764,924
                                        17                                                                                  18
                            TABLE 3-continued                                                                 TABLE 4-continued
Flag         Header                Payload                                                             ECC(SEC-DED), & 3 padded zeros): total 48 bits
2. Ack frame                                                                                       10 - 64-bit PCI data (2 of 32-bit PCI data packet):
16 bit 16 bit                                                                  5                       total 96 bits
Flag         Header                                                                                11 - 32-Byte PCI data (8 of 32-bit PCI data packet):
3. Response frame                                                                                       total 384 bits
   PCI data response message                                                                       Data length for APIC command/response:
16 bit       16 bit        Data (487967384 bits)                                                   OO - Reserved
Flag         Header                Payload                                                         01 - 16-bit EOI data (10-bit message &
                                                                               10                      6-bit ECC(SEC-DED))
       PCI control message for terminations, errors & aborts
16 bit        6 bit                                                                                10 - 32-bit short/LP data (24-bit message & 8-bit ECC)
Flag         Header                                                                                1 - Reserved
       APEC EOI response                                                            2 bits 5:4)    Reserved
16 bit       16 bit            Data (16 bits)                                       2 bits 3:2     Transaction ID bits for request & response packets
Flag         Header                Payload                                          2 bits1:O      Even parity bits for header (Bit 1 & 0 covers the Bit 15-8
                                                                                5                  & 7-2 of header, respectively)

                                      TABLE 4
                                                                                                                       TABLE 5
2 bits 15:14) Packet types:
              00- Request packet (default)                                           PCI Addidata
              01 - Response packet                                                    Bls or APC                                 ECC bits
              10 - Ackpacket
                  11 - Reserved                                                       Message bits      O                2        3    4.        5     6          7
4 bits 13:10 Opcodes for a request packet:                                                   O          O       O       O         1.   1.              O       O
             0000 - Reset command (default)                                                             1.      O       1.        1.   O         O     O       O
             0001 - Starting a new non-locked PCI command                      25           2           O       1.      1.        1    O         O     O       O
             0010 - Starting a new locked PCI cominand                                      3           O       1       O              1               O       O
             0.011 - Continuing a current PCI command                                       4.          O       O       1.       1.    1         O     O       O
             O100 - Last phase of a current non-locked command                              5           O       1.      1.       O               O     O       O
             0101 - Last phase of a current locked PCI command                              6           1.      O       O        1.    1.        O     O       O
             0110 - Abort current operation command                                         7           1.      1.      O        O     O               O       O
                 O111 - Reserved                                               30
                  1000 - Diagnostic turn-around at the remote link command                  8                   O       1        O     O               O       O
                  1001 - Buffer flush request command                                       9           O       1.      1        O     O               O       O
                  101 - APIC short LP message command                                       O           O       1.      O        O     O         1.            O
                        (32-bit data payload)                                                           O       O       O        1.              O     O
                  11xx - Reserved                                                           12          O       O       O        1.    O         O     1
                 Opcodes for a response packet:                                35           13          O       1.      O        O     1.        O     1       O
                 0000 - Reserved                                                            14                  O       O        O               O     O
                 0001 - PCI read data without a disconnect response                         15          O       O       1.       1     O         O     O
                                                                                            16          O       1       O        O     O         O     1.
                 O010 - PCI read data with a disconnect response (last data)                17                  O       O              O         O     O
                 O011 - Reserved
                 01.00 - PCI non-posted write completion response                           18          O       1.      1.       O     O         O     O          1
                 01.01 - Excessive target retry/busy response                  40           19          1       O       O        O     O         O     1.         1.
                 O110 - No target device selected response                                  2O          1.      1.      O        O     O         O     O
                 Olli - Data parity error response                                          2           O       O       O        O                             O
                 1000 - System error (including address parity error)                       22          O       O       O              O          1.           O
                        response                                                            23          O       O       1.       O     O                       O
                  1001 - Buffer flush acknowledge response                                  24                  O       O        O     O               O       1.
                  101x - APC EOI response (16-bit data payload)                             25                  O       O        O     O          1.           O
                  1xx - Reserved                                               45           26          O       O       1.       O                     O       O
                 Status for an ackpacket for all commands except turn                       27          O       O       1.       O               O     1       O
                 around:                                                                    28          O       1       O        O               O     O
                 0000 - NAK                                                                 29          1       O       O        O               O             O
                 OOO1 - OK                                                                  30          O       O       1.             O         O             O
                 O010 - ECC/parity error                                                    31          O       1.      O        l     O         O             O
                 0.011 - Bridge is busy (retry)                                SO        CMDOBEO        O       O       O        O               1.    O       1
                 OOO - Reserved                                                          CMD1BE1        O       1.      O              O         O     O       1.
                 OO1 - Reserved                                                          CMD2BE2        1       O       1.       O     O         O     O       1
                 011 - Reserved                                                          CMD3BE3                O       O              O         O     1.      O
                 1xxx - Reserved except 1000 for turn-around command                       PAR           1.     1.      1.       O     O         O     O       O
2 bits.9:8.      Address length for PCI & turn-around commands:                      Bit weight for     4       5       6        5     5         5                ra
                 00 - No address present in payload (default)                  55         10-bit
                 01 - 32-bit PCI address (32-bit addr, 4-bit command,                Bit weight for     8      10       9        10    9         9     8       9
                      1 parity, 8-bit ECC(SEC-DED), & 3 padded zeros):                   24-bit
                      total 48 bits                                                  Bit weight for    14      14       14       14    14        13    14     14
                  10 - 64-bit PCI address (2 of 32-bit PCI addrpacket):                  37-bit
                      total 96 bits
                  11 - Reserved
                 Buffer designator for Buffer Flush command:
                 OO - Reserved                                                                                         TABLE 6
                 01 - Upstream buffers only
                 10 - Downstream buffers only                                       Bit     Function                                                        Default
                 11 - Both upstream & downstream buffers for the GAT
2 bits 7:6       Data length for PCI & turn-around commandsfresponse:               15     If this bit is set to one, then all memory read                    O
                 00 - No data present in payload (default)                     65          operations within the upstream address range will be
                 01 - 32-bit PCI data (32-bit data, 4 BEs, 1 parity, 8-bit                 forced to be retried until the data is available to
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                                                                     5,764,924
                                        19                                                                     20
                                                                                    3. The method of claim2 wherein the steps of transmitting
                            TABLE 6-continued                                     the serial request packet comprises the steps of:
Bit      Function                                                  Default
                                                                                    determining if a buffer is available;
                                                                                    storing the serial request packet in a buffer when the
         this bridge and else, no target initiated retry                     5        buffer is available; and
         operation will be forced for above read operations.                        transmitting the serial request packet from the buffer to
         The purpose of this option is to maximize the PCI bus                      the remote I/O backplane over the serial link when the
         operation will be forced for above read operations.                        serial link is available.
         utilization.
4.       If this bit is set to one, then the host side of the        O           4. The method of claim 3 wherein the step of transmitting
         bridge will assert the DEVSELi signal when no target                O the serial request packet is repeated until the serial request
         device claims it (subtractive decoding) and else, only                acknowledge packet indicates that the serial request message
         positive decoding will be supported. This control bit                 was received by the remote I/O backplane.
         will support an option to connect a compatibility                       5. The method of claim 2 wherein the step of transmitting
         bridge as a subordinate to the serial bridge.                         the serial response acknowledge packet comprises the steps
         If this bit is set to one, then the host side of bridge     O            of:
         does not have a direct connection to the ICC bus which              15
         is used either to assert an interrupt reporting message                    determining if a buffer is available;
         to local APICs or to receive an EOI message from a                         storing the serial response acknowledge packet in a buffer
         local APC. In this mode, it has to use one of 4 PCI
         interrupt signals to report an interrupt and also                               when the buffer is available; and
         generate an EOI message to the ICC bus of IO side                          transmitting the serial response acknowledge packet from
         bridge after detecting a predefined operation (e.g. a                        the buffer to the remote I/O backplane over the serial
         CSR read to the specific register) which tries to                                link when the serial link is available.
         signal the asserted interrupt has been served. When
         this bit is set to zero, then there is a direct                             6. The method of claim 2 wherein the step of generating
         connection to the ICC bus and neither to use a PCI                       a serial response acknowledge packet comprises the steps of:
         interrupt signal to report an interrupt nor to generate                     generating a command operations code defining serial
         an EOI message to the IO side of bridge since both will
         be initiated by either an IO APIC or a local APIC                   25           link commands; and
         through the ICC bus and this bridge works as a true ICC
         bridge.
                                                                                  combining the local bus message with the command
2        If this bit is set to one, then the memory attribute        O
                                                                                     operations code, thereby creating a serial response
         bits in the configuration register 4C-4Fh will be                           acknowledge packet.
         enabled and else, the bits in this configuration                         7. The method of claim 2 wherein the serial response
         register will be ignored.                                           30 acknowledge packet comprises a plurality of data packets,
         If this bit is set to one, then a downstream DAC (Dual      O          each data packet formed by performing the steps of:
         Address Cycle) operation will be translated into a SAC
         (Single Address Cycle) in other side when its upper 32                     segmenting the local bus message into local bus message
         bit address falls into the address range defined in the                      segments if the serial response acknowledge packet
         Configuration register 70 through 77. Else, a                                exceeds a predefined message length;
         downstream DAC will be propagated through to other                  35     generating a segmented message command operations
         side of the bridge without changing into a SAC if its
         address falls into the address range defined in the                            code defining serial link commands and relating the
         register 68-6F & 20-23. For all SAC operations, the                            associated local bus message segments; and
         address ranges defined in the register 54-5B & 60-77                        combining the segmented local bus messages with the
         are not used at all.
10-8     Reserved                                                    O                  associated segmented message command operations
                                                                                        code, thereby generating a data packet.
      What is claimed is:                                                            8. The method of claim 1 wherein the step of generating
  1. A method of extending one or more local buses to a                           a serial request packet comprises the steps of:
remote I/O backplane comprising the steps of:                                        generating a command operations code defining serial
  receiving a message from a local bus;                         45    link commands; and
  generating a serial request packet from the local bus            combining   the local bus message with the command
     message when the local bus message is targeted to the            operations code, thereby creating a serial request
     remote I/O backplane;                                            packet.
                                                                   9. The method of claim 1 wherein the serial request packet
  transmitting the serial request packet to the remote I/O comprises
     backplane over a serial link;                              50          a plurality of data packets, each data packet
  receiving a serial response packet from the remote I/O formed by performing the steps of:
     backplane when specified by the serial request packet         segmenting the local bus message into local bus message
     over the serial link, said serial response packet defining       segments if the serial request packet exceeds a pre
     a local bus operation; and                                       defined message length;
  performing the local bus operation indicated by the serial 55 generating a segmented message command operations
     response packet.                                                 code defining serial link commands and relating the
  2. The method of claim 1 wherein the method further                 associated local bus message segments; and
comprises the steps of:                                            combining the segmented local bus messages with the
      receiving a serial request acknowledge packet from the                              associated segmented message command operations
        remote I/O backplane after transmitting the serial                                code, thereby generating a data packet.
        request packet to the remote I/O backplane, said serial                         10. The method of claim 1 wherein the serial response
        request acknowledge packet indicating whether the        packet comprises a plurality of serial response data packets
        remote I/O backplane received the serial request         each comprising an operations code and data, and the step of
        packet; and                                              receiving the serial response packet comprising the steps of:
      transmitting a serial response acknowledge packet to the 65 decoding the operations code to determine if the serial
        remote I/O backplane over the serial link after receiv                            response packet extends to multiple serial response data
        ing the serial response packet.                                                   packets; and
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                                                         5,764,924
                              21                                                                  22
   receiving the plurality of data packets until the operations       20. The method of claim 18 wherein the step of trans
      code indicates that the last data packet was received.       mitting the serial request acknowledge packet further com
   11. The method of claim 1 wherein the serial response prises the step of transmitting a busy message to the remote
packet comprises a response message and response opera I/O backplane if the buffer is not available.
tions code, and the step of performing the local bus opera 5 21. The method of claim 17 wherein the serial request
tion indicated by the signal response packet comprising the packet comprises one or more serial request data packets.
steps of:                                                          each comprising an operations code and data, and the step of
   reading the response operations code;                           receiving the serial request packet comprises the steps of:
   interpreting the response operations code to determine the         decoding the operations code to determine if the serial
      local bus operation and the response message; and                  request packet extends to more than one serial request
  performing the local bus operation.                                    data packet; and
   12. The method of claim 11 wherein the step of perform             receiving the plurality of data packets until the operations
ing the bus operation comprises the steps of:                            code indicates that the last data packet was received.
   arbitrating for the local bus; and                           15
                                                                      22. The method of claim 17 wherein the step of perform
  initiating the local bus operation when the local bus has ing the bus operation comprises the steps of:
     been granted.                                                    arbitrating for the local bus;
   13. The method of claim 12 wherein the plurality of local          initiating the local bus operation;
buses comprises a PCI bus, an ICC bus, and a sideband                 receiving a local bus operation response; and
signal bus. and the step of prioritizing messages comprises           generating a serial response packet comprising the local
the steps of:                                                            bus operation response.
  granting sideband signal bus messages high priority;                23. The method of claim 22 wherein the step of generating
  granting ICC bus messages moderate priority; and                 a serial response packet comprises the steps of:
  granting PCI bus messages local priority.                           generating a command operations code defining serial
   14. The method of claim 13 wherein the assigning step        25       link commands; and
comprises the steps of:                                               combining the local bus operation response with the
  assigning a sequential identity to each remote I/O back                command operations code, thereby generating the
     plane entity; and                                                   serial response packet.
  assigning an hierarchical identity to each remote I/O a serialTheresponse
                                                                      24.      method of claim 22 wherein the step of generating
                                                                                      packet comprises the steps of:
     backplane entity.                                                segmenting   the local bus operation response if the serial
   15. The method of claim 1 further comprising the steps of:            response packet exceeds a predefined message length;
  prioritizing messages from the local buses when a plu               generating a segmented message command operations
     rality of local bus messages have been receiving; and               code defining serial link commands and relating the
  selecting the local bus message with the highest priority 35           associated local bus operation response message seg
     for transmission.                                                   ments; and
  16. The method of claim 1 wherein the remote I/O                    combining the segmented local bus operation response
backplane comprises one or more remote entities and the                 message segments and the segmented message com
method further comprises the step of assigning unique                   mand operations code, thereby generating a serial
identities to each remote I/O backplane entity.                         response packet.
   17. A method of extending one or more local buses to a             25. The method of claim 17 wherein the method further
remote I/O backplane, comprising the steps of:                      comprises the step of assigning unique identities to each
   receiving a serial request packet defining a local bus           backplane bus.
     operation from the remote I/O backplane over a serial            26. The method of claim 25 wherein the assigning step
     link;                                                     45   comprises the steps of:
   performing the local bus operation; and                            assigning a sequential identity to each backplane bus; and
   transmitting a serial response packet to the remote I/O            assigning an hierarchical identity to each backplane bus.
     backplane.                                                       27. A method of extending one or more local buses in a
   18. The method of claim 17, further comprising the steps SO processor to a remote I/O backplane having one or more
of:                                                             backplane buses, comprising the steps of:
   transmitting a serial request acknowledge packet to the         receiving a message from a backplane bus;
     remote I/O backplane after receiving the serial request       generating a serial request packet from the backplane bus
     packet over the serial link; and                                 message when the backplane bus message is targeted to
   receiving a serial response acknowledge packet from the 55         a local bus;
     remote I/O back plane over the serial link                    transmitting the serial request packet to the local bus over
   19. The method of claim 18 wherein the step of trans              a serial link;
mitting a serial request acknowledge packet to the remote          receiving a serial response packet from the local bus when
I/O backplane comprises the steps of:                                 specified by the serial request packet over the serial
   decoding the serial request packet to determine if data is         link, said serial response packet defining a backplane
     targeted to a local bus;                                        bus operation; and
   determining if a buffer is available;                           performing the remote bus operation indicated by the
   storing the serial request packet in a buffer when the             serial response packet.
     buffer is available; and                                      28. The method of claim 27, further comprising the steps
   transmitting the serial request acknowledge packet to the 65 of:
     remote IO backplane when the data is targeted to the          receiving a serial request acknowledge packet from the
     local bus and the serial link is available.                      local bus after transmitting the serial request packet to
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                                                         5,764,924
                             23                                                                 24
     the local bus, said serial request acknowledge packet           36. The method of claim 27 wherein the serial response
     indicating whether the local bus received the serial         packet comprises a plurality of serial response data packets
     request packet; and                                          each comprising an operations code and data, and the step of
  transmitting a serial response acknowledge packet to the receiving the serial response packet comprises the steps of:
     local bus over the serial link after receiving the serial       decoding the operations code to determine if the serial
     response packet.                                                  response packet extends to multiple serial response data
  29. The method of claim 28 wherein the step of trans                 packets; and
mitting the serial response acknowledge packet comprises             receiving the plurality of data packets until the operations
the steps of:                                                          code indicates that the last data packet was received.
                                                               10
  determining if a buffer is available;                              37. The method of claim 27 wherein the serial response
  storing the serial response acknowledge packet in a buffer packet comprises a response message and a response opera
     when the buffer is available; and                            tions code, and the step of performing the local bus opera
  transmitting the serial response acknowledge packet from tion indicated by the signal response packet comprises the
     the buffer to the processor over the serial link when the 15 steps of:
     serial link is available.                                       reading the response operations code;
   30. The method of claim 28 wherein the step of generating         interpreting the response operations code to determine the
a serial response acknowledge packet comprises the steps of:            local bus operation and the response message; and
   generating a command operations code defining serial              performing the local bus operation.
     link commands; and                                              38. The method of claim 37 wherein the step of perform
  combining the remote bus message with the command ing the bus operation comprises the steps of:
     operations code, thereby creating a serial response             arbitrating for the local bus; and
     acknowledge packet.                                             initiating the local bus operation when the local bus has
  31. The method of claim 28 wherein the serial response                been granted.
acknowledge packet comprises a plurality of data packets, 25 39. The method of claim 27, further comprising the steps
each data packet formed by performing the steps of:               of:
  Segmenting the remote bus message into remote bus                  prioritizing messages from the local buses when a plu
     message segments if the serial response acknowledge                rality of local bus messages have been received; and
     packet exceeds a predefined message length;                     selecting   the local bus message when the highest priority
  generating a segmented message command operations 30                  for transmission.
     code defining serial link commands and relating the             40. The method of claim 39 wherein the plurality of
     associated remote bus message segments; and                  remote buses comprises a PCI bus, an ICC bus, and a
  combining the segmented remote bus messages with the sideband signal bus, and the step of prioritizing messages
     associated segmented message command operations 35 comprises the steps of:
     code, thereby generating a data packet.                         granting sideband signal bus messages high priority;
  32. The method of claim 27 wherein the step of trans               granting ICC bus messages moderate priority; and
mitting the serial request packet comprises the steps of:
  determining if a buffer is available;                              granting    PCI bus messages low priority.
                                                                     41. The method of claim 40 wherein the method further
   storing the serial request packet in a buffer when the comprises the step of assigning unique identities for each
     buffer is available; and
  transmitting the serial request packet from the buffer to remote   42.
                                                                           I/O backplane entity.
                                                                          The   method of claim 40 wherein the assigning step
     the processor over the serial link when the serial link is comprises the       steps of:
     available.
  33. The method of claim 32 wherein the step of trans 45            assigning    a sequential identity to each remote I/O back
mitting the serial request packet is repeated until the serial          plane   bus;  and
request acknowledge packet indicates that the serial request         assigning an hierarchical identity of each remote I/O
packet was received by the processor.                                   packplane bus.
                                                                     43. A method of extending one or more local buses in a
   34. The method of claim 27 wherein the step of generating processor
a serial request packet comprises the steps of:                                to a remote I/O backplane having one or more
                                                               50 backplane buses, comprising the steps of:
   generating a command operations code defining serial
      link commands; and                                             receiving a serial request packet defining a remote bus
   combining the backplane bus message with the command                 operation from the processor over a serial link;
      operations code, thereby creating a serial request             performing the backplane bus operation; and
     packet.                                                   55    transmitting a serial response packet to the processor over
   35. The method of claim 27 wherein the serial request                the serial link.
packet comprises a plurality of data packets, each data              44. The method of claim 43, further comprising the steps
packet formed by performing the steps of:                         of:
   segmenting the backplane bus message into backplane               transmitting a serial request acknowledge packet to the
      bus message segments if the serial request packet                 processor after receiving the serial request packet over
      exceeds a predefined length;                                      the serial link; and
   generating a segmented message command operations                 receiving a serial response acknowledge packet from the
      code defining serial link commands and relating the               processor over the serial link after transmitting a serial
      associated backplane bus message segments; and                    response packet to the processor over the serial link.
   combining the segmented message command operations                45. The method of claim 44 wherein the step of trans
      code with the associated backplane bus message mitting a serial request acknowledge packet to the processor
      segments. thereby generating a data packet.                 comprises the steps of:
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                                                         5,764,924
                              25                                                                  26
  decoding the serial request packet to determine if data is         means for generating a serial request packet from the bus
    targeted to a backplane bus;                                        message. coupled to the determining means; and
  determining if a buffer is available;                              means for performing the bus operation defined by the
  storing the serial request acknowledge packet in the buffer 5         serial response packet; and
     when the buffer is available; and                               a serial link interface, coupled to the serial link processor
   transmitting the serial request acknowledge packet to the            and the serial link, said serial link interface comprising:
      remote I/O backplane when the data is targeted to the          a transmitter for transmitting a serial request packet and a
     backplane bus and the buffer is available.                         serial response acknowledge packet over the serial link.
   46. The method of claim 44 wherein the step of trans                the transmitting means coupled to the serial link; and
mitting the serial request acknowledge packet further com O         a receiver for receiving a serial request acknowledge
prises the step of transmitting a busy message to the local            packet and a serial response packet over the serial link.
bus if the buffer is not available.                                    the receiving means coupled to the serial link.
  47. The method of claim 43 wherein the serial request meansThe    54.       apparatus of claim 53 wherein said generating
                                                                          comprises:
packet comprises one or more serial request data packets, 15 means for generating a command operations code defin
each comprising an operations code and data, and the step of           ing serial link commands; and
receiving the serial request packet comprises the steps of:
   decoding the operations code to determine if the serial           means for combining the bus message with the command
      request packet extends to more than one serial request           operations code, thereby generating a serial request
      data packet; and                                                 packet.
                                                                    55. The apparatus of claim 53 wherein said serial request
   receiving the plurality of data packets until the operations packet    comprises a plurality of data packets, and the gen
      code indicates that the last data packet was received.      erating  means comprises:
   48. The method of claim 43 wherein the step of perform            means  for segmenting the bus message into bus message
ing the bus operation comprises the steps of:                          segments if the serial request package exceeds a pre
   arbitrating for the backplane bus;                          25      defined message length, coupled to the determining
   initiating the backplane bus operation;                             means;
   receiving a backplane bus operation response; and                 means for generating a segmented message command
   generating a serial response packet comprising the back             operations code defining serial link commands and
      plane bus operation response.                                    relating the associated bus message segments; and
   49. The method of claim 48 wherein the step of generating         means  for combining the segmented bus messages with
a serial response packet comprises the steps of:                       the associated segmented message command opera
  generating a command operations code defining serial                 tions code, thereby generating said data packets, said
     link commands; and                                                combining means coupled to the generating means and
   combining the backplane bus operation response with the            the segmenting means.
      command operations code, thereby generating the 35 56. The apparatus of claim 53 wherein the serial link
      serial response packet.                                    processor further comprises a means for storing data in the
   50. The method of claim 48 wherein the step of generating buffer when the serial link is unavailable.
a serial response packet comprises the steps of:                   57. The apparatus of claim 53 wherein the serial link
   segmenting the backplane bus operation response if the interface further comprises means for repeatedly transmit
      serial response packet exceeds a predefined message ting the serial request packet until the serial acknowledge
      length;                                                    packet is received.
   generating segmented backplane bus operations code              58. The apparatus of claim 53 wherein the serial response
      defining serial link commands and relating the local bus packet further comprises a response message and a response
      operation response message segments; and                   operations code, and the translator further comprises:
   combining the segmented local bus operation response 45 means for reading the response operations code;
      message segments and the segmented message con               means for interpreting the response operations code to
      mand operations code, thereby generating a serial               determine the destination of the signal response; and
      response packet.                                             means for translating the response message into bus
   51. The method of claim 43 wherein the method further              compatible data, coupled to the reading means and the
comprises the steps of assigning a unique entity to each 50           interpreting means.
backplane bus.                                                     59. The apparatus of claim 53 wherein the serial link
   52. The method of claim 51 wherein the assigning step processor further comprises a module for prioritizing bus
comprises the steps of:                                          messages.
   assigning a sequential identity to each backplane bus; and 55 60. An apparatus for extending a processor comprising a
   assigning an hierarchical identity to each backplane bus. PCI bus to a remote I/O backplane over a serial link,
   53. An apparatus for extending a processor comprising a comprising:
PCI bus to a remote I/O backplane over a serial link,              a PCI bus interface processor coupled to the PCI bus:
comprising:                                                        a serial link processor for translating bus messages into
   a PCI bus interface processor coupled to the PCI bus,              serial link interface messages and translating serial link
   a serial link processor for translating bus messages into          interface messages into a bus message;
      serial link interface messages and translating serial link   a serial link interface, coupled to the serial link processor
      interface messages into a bus message, said serial link         and the serial link; and an ICC bus interface coupled to
     processor comprising;                                            the bus,
   means for determining the destination of the bus message, 65 61. An apparatus for extending a processor comprising a
      said determining means coupled to the PCI bus inter PCI bus to a remote I/O backplane over a serial link,
      face;                                                      comprising;
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  a PCI bus interface processor coupled to the PCI bus;              a serial link interface, coupled to the serial link processor
  a serial link processor for translating bus messages into             and the serial link; and
     serial link interface messages and translating serial link       an ICC interface processor, coupled to the serial link
     interface messages into a bus message; said serial link             processor and the ICC bus.
     processor comprising;
                                                                      64. An apparatus for extending a processor comprising a
  a decoder for interpreting the serial request packet to          PCI bus and a JTAG bus to a remote I/O backplane over a
     determine if a bus operation is required; and                 serial link, comprising:
  means for performing the bus operation defined by the
     serial request packet; and                                       a PCI bus interface processor coupled to the PCI bus;
  a serial link interface, coupled to the serial link processor       a serial link processor for translating bus messages into
     and the serial link; said serial link interface comprising;         serial link interface messages and translating serial link
  a transmitter for transmitting a serial response acknowl               interface messages into a bus message;
     edge packet and a serial request acknowledge packet              a serial link interface, coupled to the serial link processor
     over the serial link, coupled to the serial link; and              and the serial link; and
  a receiver for receiving a serial response acknowledge
     packet over the serial link, coupled to the serial link.        a JTAG bus interface processor coupled to the JTAG bus
  62. The apparatus of claim 61 wherein the bus operation               and the serial interface processor.
performing means comprises:                                          65. An apparatus for extending a processor comprising a
  a bus arbitrator;                                                PCIbus and a sideband signal bus to a remote I/O backplane
  means for initiating the bus operation;                          over a serial link, comprising:
  means for receiving a bus operation response; and                  a PCI bus interface processor coupled to the PCI bus;
  means for generating a serial response packet comprising           a serial link processor for translating bus messages into
    the bus operation response, coupled to the serial link              serial link interface messages and translating serial link
     interface.
   63. An apparatus for extending a processor comprising a              interface messages into a bus message;
PCI and an ICC bus to a remote I/O backplane over a serial           a serial link interface, coupled to the serial link processor
link, comprising:                                                      and the serial link; and
   a PCI bus interface processor coupled to the PCI bus;             a sideband interface, coupled to the sideband signal bus
   a serial link processor for translating bus messages into           and the PCI interface processor,
     serial link interface messages and translating serial link
     interface messages into a bus message;                                               sk       is   sk
